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 Attorney or Party Name, Address, Telephone & FAX                            FOR COURT USE ONLY
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 DANNING, GILL, ISRAEL & KRASNOFF, LLP                                                                    CLERK U.S. BANKRUPTCY COURT
 1901 Avenue of the Stars, Suite 450                                                                      Central District of California
 Los Angeles, California 90067-6006                                                                       BY handy      DEPUTY CLERK

 Telephone: (310) 277-0077
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                                                                                               CHANGES MADE BY COURT

     Individual appearing without attorney
     Attorney for: Michael A. McConnell, Chapter 11
 Trustee

                                          UNITED STATES BANKRUPTCY COURT
                                   CENTRAL DISTRICT OF CALIFORNIA -NORTHERN DIVISION

 In re:                                                                      CASE NO.:       9:19-bk-11573-MB
                                                                             CHAPTER:       11
 HVI CAT CANYON, INC.,
                                                                             ORDER:
                                                                                   GRANTING APPLICATION AND SETTING
                                                                                   HEARING ON SHORTENED NOTICE
                                                                                   DENYING APPLICATION FOR ORDER
                                                                                   SETTING HEARING ON SHORTENED
                                                                                   NOTICE
                                                                                            [LBR 9075-1(b)]
                                                             Debtor(s).

 Movant (name): Michael A. McConnell, Chapter 11 Trustee



1. Movant filed the following motions together with supporting declarations and (if any) supporting documents:

     a. Title of motions: (1) Trustee’s Motion for Order Authorizing the Rejection of all Contracts and Agreements with
                          California Asphalt Production, Inc., formerly known as Santa Maria Refining Co. and Greka
                          Refining Company, and GTL1, LLC, Not Previously Included in Prior Motion to Reject (the
                          “Second Rejection Motion”)

                              (2) Trustee’s Motion for Order Authorizing the Rejection of Oil Purchase Contracts (Contract No.
                              COP-003 for Belridge Crude Oil and All Amendments and Contract No. COP-004 for Richfield
                              Heavy Crude Oil and All Amendments) with California Asphalt Production, Inc. formerly known as
                              Santa Maria Refining Co. and Greka Refining Company (the “First Rejection Motion”)

     b. Date of filing of motions:                (1) Second Rejection Motion – December 4, 2019
                                                  (2) First Rejection Motion – November 27, 2019



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2. Pursuant to LBR 9075-1(b), movant also filed an Application for Order Setting Hearing on Shortened Notice
   (Application) together with supporting declaration(s):

     Date of filing of Application: December 4, 2019

3. Based upon the court’s review of the application, it is ordered that:

     a.         The Application is denied. The motion may be brought on regular notice pursuant to LBRs.

     b.         The Application is granted, and it is further ordered that:

          (1)         A hearing on both motions will take place as follows:


                 Hearing date:
                 December 10, 2019
                 Time: 11:00 a.m.
                 Courtroom: 303                               Place:
                                                                  21041 Burbank Boulevard, Woodland Hills, CA 91367
                 Parties may participate by video
                 from Courtroom 202 in the
                 courthouse located at 1415
                 State Street, Santa Barbara, CA
                 93101

          (2)         No later than the deadlines given, telephonic notice of the hearing must be provided to all
                      persons/entities listed:

                 (A) Deadlines:                          (B) Persons/entities to be provided with telephonic notice:
                 Date: December 6, 2019
                                                           Counsel for California Asphalt Production, Inc.
                 Time: Noon, Pacific Time                  Counsel for GTL1, LLC
                                                           Counsel for the Official Committee of Unsecured Creditors
                                                           Counsel for UBS AG, London Branch
                                                           Parties requesting special notice

                                                                  See attached page
                                                         (C) Telephonic notice is also required upon the United States trustee


          (3)         No later than the deadlines given, written notice of the hearing and a copy of this order must be
                      served upon all persons/entities listed using:       one of the methods checked         all of the
                      methods checked

                (A)        Personal Delivery             Overnight Mail               First class mail               NEF                    Email*




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                 (B) Deadlines:                          (C) Persons/entities to be served with written notice and a copy of this
                                                             order:
                 Date: December 6, 2019

                 Time:                                      Counsel for California Asphalt Production, Inc.
                                                            Counsel for GTL1, LLC
                 So that it is received by Noon,            Counsel for the Official Committee of Unsecured Creditors
                 Pacific Time.                              Counsel for UBS AG, London Branch
                                                            Parties requesting special notice

                                                                  See attached page
                                                         (D) Service is also required upon:
                                                             -- United States trustee (electronic service is not permitted)
                                                             -- Judge’s copy personally delivered to chambers
                                                                (see Court Manual for address)

          (4)       No later than the deadlines given, a copy of the motion, declarations, and supporting documents (if any),
                    must be served on all persons/entities listed using:        one of the methods checked       all of the
                    methods checked
                (A)      Personal Delivery       Overnight Mail          First Class Mail        Facsimile*      Email*



          (5)       Regarding opposition to the motion

                    opposition to the motion may be made orally at the hearing



          (6)       Regarding a reply to an opposition:

                    a reply to opposition may be made orally at the hearing.



          (7)      Other requirements: No later than December 9, 2019, Movant must file a supplemental proof of service
                showing service of the Second Rejection Motion on GTL1, LLC.




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          (8)       No later than the deadlines given, movant must file a Declaration of Notice and Service establishing
                    that telephonic notice, written notice, and service of the motion and this order was completed as set forth
                    above, and a judge’s copy of the Declaration of Notice and Service must be personally delivered to the
                    judge’s chambers:

                          at least 2 days before the hearing.

                          no later than:         Date: December 9, 2019             Time:



     * Service by electronic means (facsimile or email) requires compliance with F.R.Civ.P. 5(b)(2)(E).

                                                                          ###




                  Date: December 5, 2019




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